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                    EXHIBIT 42
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                                                                      Larsen & Toubro Limited
           LARSEN & TOUBRO                                            Secretarial Department
                                                                      L&T House, Ballard Estate
                                                                      Narottam Morarjee Marg
                                                                      Mumbai - 400 001, INDIA
                                                                      Tel: +91 22 6752 5656
                                                                      Fax: +91 22 6752 5858
                                                                      www.Larsentoubro.com

     SEC/SS                                                October 24, 2019

     The Secretary                           National Stock Exchange of India Limited
     BSE Limited                             Exchange Plaza, 5th floor
     Phiroze Jeejeebhoy Tower                G Block
     Dalai Street                            Bandra Kuria Complex
     Mumbai — 400 001                        Bandra (East)
                                             Mumbai — 400 051

                                                          Stock Code : 500510/ LT
     Dear Sirs,

          Sub: Company's clarification to the Stock Exchanges dated 18th
                February, 2019 and 28th February, 2019 - Further Update

     We have for reference our clarifications to stock exchanges dated February
     18, 2019 and February 28, 2019.

     As directed by the Audit Committee, external experts were appointed to
     review the details of an earlier investigation conducted on behalf of the
     Company. The report of the external experts was received and discussed in
     the Audit Committee meetings held on August 21, 2019 and October 22,
     2019. The Audit Committee has concluded that there was no sufficient
     evidence to support the allegations of the Company's involvement in making
     alleged improper payments at the direction of Cognizant Technology
     Solutions. The Board of Directors took note of the same in its meeting held on
     October 23, 2019.

     Thanking you,

                                                      Yours faithfully,
                                              For LARSEN & TOUBRO LIMITED



                                                   ( N. HARIHARAN )
                                              EXECUTIVE VICE PRESIDENT &
                                                 COMPANY SECRETARY
                                                        ACS-3741




    ON : L99999MH1946PLC004768
